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                            UNITED STATE BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In re:
         CATHY MICKENS,                                              Case No. 19-31323-KLP
                                                                     Chapter 7
                                  Debtor.

         TRUSTEE’S MOTION FOR AUTHORIZATION TO OPERATE BUSINESS
           OF THE DEBTOR ON A LIMITED BASIS FOR A LIMITED PERIOD

         COMES NOW Roy M. Terry, Jr., Chapter 7 Trustee (the "Trustee") for the bankruptcy

estate of Cathy Mickens (the "Debtor"), by counsel, and pursuant to 11 U.S.C. § 721, and files his

Motion for Authorization to Operate the Business of the Debtor on a Limited Basis and for a

Limited Period (the "Motion"), and in support thereof respectfully states as follows:

         1.     On March 13, 2019, the Debtor filed a voluntary petition seeking relief under

Chapter 7 of the United States Bankruptcy Code.

         2.     Roy M. Terry, Jr. was appointed interim Chapter 7 Trustee. The § 341 meeting of

creditors is scheduled to be held April 22, 2019 at 10:00 a.m.

         3.     Pursuant to Debtor's schedules as filed, the Debtor has an interest in real property

located at 11443 145th Street, Jamaica, New York 11436 (the "Property").

         4.     Schedule A/B indicates the value of the Property to be $374,000.00. Schedule D

also indicates that the Property is secured by a deed of trust benefitting Mr. Cooper as mortgage

lender with a loan balance of $261,684.40.

         5.     Although Schedule A also declares the Property to be Debtor's primary residence,

the Property was actually leased prepetition by the Debtor to Crystal Dowe and Mwanza

Goulding (the "Lease"). The Lease is understood to expire in June, 2020, and requires that the

Roy M. Terry, Jr., VSB No.17764
SANDS ANDERSON PC
P.O. Box 2188
Richmond, Virginia 23218-2188
Telephone: 804.648.1636
 Chapter 7 Trustee
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tenant make monthly rental payments of $1,600.00 plus pay utilities. On information and belief,

rent payments are current through March, 2019.

       6.       Debtor is not current in her mortgage payments to Mr. Cooper. On information

and belief, Debtor's last payment to Mr. Cooper was made on December 14, 2018, in the amount

of $1,896.43.

       7.       The Trustee has been contacted by BK Global as agent for Mr. Cooper. BK

Global proposes that the Trustee make use of its services to liquidate the Property, subject to a

minimum guaranteed carve-out for the bankruptcy estate.

       8.       Subject to verification of the Property's condition and value, the Trustee has

interest in liquidating the Property for the benefit of creditors. Based upon the Schedule A value

of $374,000.00 and the Schedule D mortgage payoff of $261,684.40, the Property has significant

equity over and above the payoff to Mr. Cooper. While appreciative of the mortgage lender's

offer, the Trustee is more interested in the apparent equity than in the proposed, guaranteed carve-

out.

       9.       The employment of a sales agent and a sale motion will come later. At present, the

Trustee seeks authority from the Court to collect the monthly rents from the Property

commencing with April, 2019, and—to the extent possible—then make the monthly mortgage

payments to Mr. Cooper. The Trustee understands that these acts may constitute operating a

business.

       10.      Section 721 provides that:

                   The court may authorize the trustee to operate the business of the
                   debtor for a limited period, if such operation is in the best interest of the
                   estate and consistent with the orderly liquidation of the estate.
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11 U.S.C. § 721. Such authorization is appropriate where the interim operation of the Debtor’s

business is to complete work in progress if the final product will realize a net return greater than

would the component parts. See 2 COLLIERS ON BANKRUPTCY ¶ 721.01[1], at 721-3 (Alan N.

Resnick & Henry J. Sommer eds., 15th ed. rev. 2008).

          11.      The Trustee has determined, in the exercise of his business judgment, that the

limited operation of the Debtor’s business--for the purpose of collecting rents from the lease of

the Property, and then applying those rents collected against the monthly debt service obligation

to the mortgage lender--is in the best interests of the estate.

          WHEREFORE, the Trustee respectfully requests that the Court enter an order,

substantially in the form attached hereto, authorizing him to collect tenant rents paid pursuant to

the Lease, and then to apply those rents against the monthly debt service obligation to Mr. Cooper

as mortgage lender, together with such other and further relief as the Court deems just and

proper.

          Respectfully submitted, this 4th of April, 2019

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                                                        /s/ Roy M. Terry, Jr.
                                                        Roy M. Terry, Jr., VSB No. 17764
                                                        SANDS ANDERSON PC
                                                        P.O. Box 2188
                                                        Richmond, VA 23218-2188
                                                        Telephone: 804.648.1636
                                                         Chapter 7 Trustee


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of April, 2019, a true and correct copy of the foregoing
motion was sent electronically through the Court's electronic filing system and/or first-class mail,
postage-prepaid, to:


                               Robert B. Van Arsdale
                               Assistant U.S. Trustee
                               Office of the U.S. Trustee
                               701 E. Broad St., Suite 4304
                               Richmond, VA 23219

                               Cathy Mickens
                               2621 Reba Court
                               Glen Allen, VA 23060
                                Debtor

                               Veronica D. Brown-Moseley, Esquire
                               Boleman Law Firm, P.C.
                               P.O. Box 11588
                               Richmond, VA 23230
                                Counsel for the Debtor

                               Crystal Dowe and Mwanza Goulding
                               11443 145th Street
                               Jamaica, New York 11436

                               Gene T. Anton, Esquire
                               Law Office of Gene T. Anton
                               775 Park Ave, Suite 255
                               Huntington, NY 11743
                                Counsel for Crystal Dowe and Mwanza Goulding

                                                       /s/ Roy M. Terry, Jr.
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                                                                                  Proposed Order

                            UNITED STATE BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In re:
         CATHY MICKENS,                                              Case No. 19-31323-KLP
                                                                     Chapter 7
                                  Debtor.

                   ORDER GRANTING MOTION FOR AUTHORIZATION
                       TO OPERATE BUSINESS OF THE DEBTOR

         THIS MATTER is before the Court on the Chapter 7 Trustee's Motion for Authorization

to Operate the Business of the Debtor on a Limited Time (the "Motion"). The Trustee seeks

authorization to operate the Debtor's business by collecting tenant rents paid pursuant to the Lease

of Debtor's property located at 11443 145th Street, Jamaica, New York 11436 (the "Property"),

and then applying those rents against the monthly debt service obligation to Mr. Cooper as

mortgage lender secured against the Property. The Trustee further asks that the authorization

continue until the Property is either sold or abandoned by the Trustee. Upon consideration of the

Motion, the Court finds that the described operation of the business is in the best interests of the

Debtor's estate. Therefore, it is hereby

         ORDERED that the Trustee is authorized to collect tenant rents paid pursuant to the lease

of the Property, and then to apply those rents against the monthly debt service obligation to Mr.

Cooper as mortgage lender secured against Debtor's property.



Date:
                                              KEITH L.PHILLIPS
                                              UNITED STATES BANKRUPTCY COURT

                                              Entered on Docket:

Roy M. Terry, Jr., VSB No.17764
SANDS ANDERSON PC
P.O. Box 2188
Richmond, Virginia 23218-2188
Telephone: 804.648.1636
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I ask for this:


/s/ Roy M. Terry, Jr.
Roy M. Terry, Jr., VSB No. 17764
SANDS ANDERSON PC
P.O. Box 2188
Richmond, VA 23218-2188
Telephone: 804.648.1636
 Chapter 7 Trustee


                              LOCAL RULE CERTIFICATION

       Pursuant to Local Rule 9022-1, I certify that all necessary parties have endorsed the
foregoing Order.

                                                      /s/ Roy M. Terry, Jr.
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PARTIES TO RECEIVE COPIES:

Cathy Mickens
2621 Reba Court
Glen Allen, VA 23060
 Debtor

Veronica D. Brown-Moseley, Esquire
Boleman Law Firm, P.C.
P.O. Box 11588
Richmond, VA 23230
 Counsel for the Debtor

Roy M. Terry, Jr., Esquire
SANDS ANDERSON PC
P.O. Box 2188
Richmond, VA 23218-2188
 Chapter 7 Trustee

Robert B. Van Arsdale, Esquire
Assistant U.S. Trustee
701 East Broad Street, Suite 4304
Richmond, VA 23219

Crystal Dowe and Mwanza Goulding
11443 145th Street
Jamaica, New York 11436

Gene T. Anton, Esquire
Law Office of Gene T. Anton
775 Park Ave, Suite 255
Huntington, NY 11743
 Counsel for Crystal Dowe and Mwanza Goulding
